Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 1 of 27TB


                                                                                       May 26, 2016
                           U NITED STA TE S D ISTR ICT CO U R T
                           SO U TH ER N D ISTRIC T O F FLO R IDA
               16-20390-CR-LENARD/GOODMAN
                   C ASE N O .
                                   18U.S.C.j 1344
                                   18U.S.C.j 1343
                                   18U.S.C.j 1028A(a)(1)
                                   18U.S.C.j982(a)(2)(A)
 IJN ITED STATE S O F A M ERIC A

 VS.

 G ER TI M U H O ,
       a/k/a GG erard Peter M organ,''
       a/k/a GE nton Pinguli,s'
       a/k/a GK ris Blair,''

               D efendant.
                                               /

                                        IN D IC TM EN T

        The Grand Jury chargesthat:

                                 G EN ER AL A LLEG A T IO N S
        A tvarioustim esrelevantto this lndictm ent'
                                                   .

               HSBC BankUSA,N.A.(tCHSBC'')wasafinancialinstitution with officeslocated
 throughoutthe United States,including in the State ofFlorida, and whose accounts were insured

 bytheFederalDepositInsuranceComoration (t1FDlC'').
        2.     HSBC Private Bank (M onaco) S.A.(6tHSBC-M onaco'')was a private banking
 institution located in France. H sBc-M onaco was also a w holly owned subsidiary of H SBC

 Holdingsplc,a British m ulti-nationalbanking and financialservices com pany.

               Citibank,       C%citibanlc') was a financial institution with offices located
 throughoutthe U nited States,including in the State ofFlorida,and w hose accounts w ere insured
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 2 of 27




 by the FDIC.

          4.    CharlesSchwab Bank (ttcharlesSchwab'')wasafinancialinstitution with offices
 located throughoutthe U nited States,including in the State ofFlorida, and w hose accounts w ere

 insured by the FD IC .

                JP M organ Chase Bank (ttJP M organ'')was a financialinstitution with offices
 located throughoutthe United States,including in the State of Florida, and w hose accounts w ere

 insured by the FD IC .

          6.    W ellsFargo Bank (''W ellsFargo'')wasafinancialinstitution with officeslocated
 throughoutthe U nited States,including in the State ofFlorida, and whose accounts w ere insured

 by the FDIC.

                Bank of Amelica (ççBoA'') was a financial institution with offices located
 throughoutthe United States,including in the State ofFlodda, and whose accountsw ere insured

 by the FDIC.

          8.    TD Bank (ttTD Bank'')wasafinancialinstitution with officeslocated throughout
 the U nited States, including in the State of Florida,and w hose accounts w ere insured by the

 FDIC .

                PNC Bank(çTNC'')wasafinancialinstitutionwith oftsceslocatedthroughoutthe
 United States,including in the State ofFlorida,and w hose accountsw ere insured by the FD IC .

          10. Silicon Valley Bank (ééSVB'') was a financialinstitution with offices located
 throughoutthe U nited Statesand whose accounts were insured by the FD IC .

                UMB Bank (ttUM B'')wasa financialinstitution with officeslocated throughout
 the United States and whose accountsw ere insured by the FD IC .
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 3 of 27




                CrossRiverBank (itcrossRiver'')wasafinancialinstitution with officeslocated
 in N ew Jersey and N ew York and whose accounts were insured by the FD IC .

         13.    Sallie M ae Bank (''SM B'') was a financial institution with offices located
 throughoutthe United Statesand w hose accountsw ere insured by the FD IC .

        14. CEM lnvestmentsLLC (û1CEM '')wasa financialinstitution with officeslocated
 in the State of Florida and w as an organization which financed and refinanced debts secured by

 an interestin realestate and w hose activitiesaffectinterstate and foreign com m erce.

                SpaceCoastCreditUnion (ççspaceCoasf')wasaGnancialinstitution with offices
 located throughoutthe State of Florida and whose accounts w ere insured by the N ationalCredit

 UnionSharelnsuranceFundCENCUSIF'').
        16.     PenFed CreditUnion (itPenFed'')Wasa financialinstitution with officeslocated
 throughoutthe U nited States and w hose accountsw ere insured by N CU SIF .

                Theterm ttfinancialinstitutions,''asdefinedby 18U.S.C.j20,referscollectively
 to the entities setforth in the preceding paragraphs 1-16.

        l8.     A m crican Express and A m erican Express Travel Related Services Inc.

 (hereinaftercollectively ttAmericanExpress'')wasabusinesswith officeslocated in theUnited
 States. A m erican Express provided consum er credit and financial services, including credit

 cards and traveler'schecks.

                M ayors Jewelers was a business with offices located in M iami-Dade County,
 Florida,and elsew here. M ayors Jew elers was a subsidiary of Birks Group, a business w ith

 oftices located in the U nited States and Canada, and which provided consum er credit for

 qualifying custom ers ofM ayorsJewelers.
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 4 of 27




                A lliance Data w as a Texas corporation. Alliance D ata provided consum er credit

 forqualifying custom ers ofBirks G roup and M ayorsJew elers.

        21.     UpstartNetwork lnc.(itupstal'tNetwork'')was a California corporation doing
 business as a personal,retail,and institutionalloan service providerthroughoutthe United States,

 including in the State of Florida. Upstart N etw ork utilized an internet and cloud-based loan

 application process,w hich utilized selwers located outside the State of Florida, that allow ed

 intem etusers throughout the U nited States to subm itloan application docum ents and m aterials.

 CrossRiveroriginated loansprocessed by UpstartN etwork.

                Capital International Financial lnc.(ttcapital International'') was a mortgage
 brokerage com pany in the State of Florida,w ith its principalplace ofbusiness located in Coral

 G ables,FL.

                The term ççclosing''referred to the legalevent atwhich the transfer of an interest

 in realestate form ally took place,as w ell as the point atw hich funds w ere transferred betw een

 the various parties, typically accom plished by tem porarily passing the funds through an

 interm ediary referred to as a tûclosing agent,''or''title com pany.''

                A HUD-l Settlement Statement (tEHUD-1 Statement'') was a standard form
 required to be executed for the closing of all real estate transactions. The H UD -I Statem ent

 item ized all aspects of the closing for the lender,including any paym ents m ade to and by the

 bonow erand feespaid to third parties in connection w ith the closing.

                The tenn 'Avictim s'' refers collectively to individuals and entities w hose bank

 account data, financial, em ployee and persolm el inform ation, and other personal and

 organizational identifying inform ation, including m eans of identification, w as possessed,
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 5 of 27




 transfen-ed,and utilized w ithoutlaw fulauthority.

        26. Fl Colbalt lnc. (EEFI Cobalf') was a company in the State of Ilelayvare,
 incorporated on or about Decem ber 2l,20l0,w ith listed addresses located in W ilm ington, D E,

 and Brooklyn,N Y .

        27.    F1Investmentslnc.(6çF1Investments'')wasacompany in theStateofDelaware,
 incorporated on or about Decem ber 21,2010,w ith listed addresses located in W ilm ington, D E,

 and Brooklyn,N Y .

        28.    LampostBlueChip Fund L.P.(ûûl-ampostBlue Chip'')wascompany in theState
 of Delaw are, incorporated on or about October 1, 1999, with listed addresses located in

 W ilm ington,DE,and Boca Raton,FL.

        29.    Leveraged Hawk lnc. (t6lweveraged Hawk'')was a company in the State of
 D elaware,incorporated on oraboutApril29,2013,w ith itslisted addresslocated in Dover, D E.

               Acacius       LLC (étAcaciuf') was a company in the State of Delaware,
 incop orated on oraboutAugust9,2013,w ith itslisted addresslocated in Dover,DE .

               GM CapitalManagementlnc.(GCGM Capital'') was a company in the State of
 Delaw are,incorporated on or aboutApril29,2013,with its listed address located in Dover, D E,

 and N ew York,N Y . G M Capitalw asalso the tnlstee forBlue 5303 Land Trust.

               D efendant G E RTI M U H O w as an individual w ho resided in M iam i-D ade

 County, Florida, and elsew here. M UH O w as the purported sole owner and operator of

 Leveraged H awk,GM Capital,Blue 5303 Land Trust,and Acacius.
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 6 of 27




                                         C O U N TS 1-17
                                         BA NK FM U D
                                        (18U.S.C.j1344)
                Paragraphs 1-11, l3-18, and 22-32 of the General A llegations section of this

 lndictm entare re-alleged and incorporated fully herein by reference.

        2.      Beginning in and around April2013,the exactdate being unknow n to the G rand

 Jury,and continuing through on or aboutM ay 17,2016,in M iam i-Dade and Broward Counties,

 in the Southel'n D istrictofFlorida,and elsewhere, the defendant,

                                         G ER TIM IJH O ,
                                 a/k/a iéG erard Peter M organ,''
                                     a/k/a ééEnton Pinguli,''
                                        a/lk/a KlfrisBlair,''

 did knowingly, and w ith intent to defraud, execute, and attem pt to exectlte, and cause the

 execution of,a schem e and artifice to defraud one orm ore tinancialinstitutions, which schem e

 and artifice em ployed a m aterial falsehood, and did know ingly, and w ith intent to defraud,

 execute, and attem pt to execute, and cause the execution of, a schem e and artifice to obtain

 m oneys,funds,credits,assets,and other property ow ned by,and underthe custody and control

 of one or m ore said financial institutions by m eans of false and fraudulent pretenses,

 repl-esentations,and prom ises,l'
                                 elating to a m aterialfad ,in violation of Title 18,U nited States

 Code,Sections1344(1)and(2)and2.
                       PU RPO SE O F TH E SCH EM E A ND A RTIFIC E
               lt w as the purpose of the schem e and artifice for the defendant to unlaw ftllly

 enrich himselfby,among otherthings:(a)unlawfully obtaining and utilizing victims'personal
 and tinancialidentifying information'
                                     ,(b) submitting false and fraudulent mortgage,vehicle,
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 7 of 27




 credit,and student loan applications and other related loan inform ation to financialand lending

 institutionsin orderto induce the financialand lending instittltions to provide the loans;(c)
 falsely and fraudulently opening accounts at various financial institutions, and m aterially

 m isrepresenting the defendant's true identity and account aceess,use, deposits,and paym ents;

 (d)creatingcounterfeitand otherunauthodzed checks,utilizingfinancialinstitution accountand
 routing data and victim s' personal and other identifying infonnation, and m atelially

 m isrepresenting authorized paym ents fl'om the listed accountholders,'(e)causingthecounterfeit

 and other unauthorized checks to be presented for paym ent at and by the t'
                                                                           inancial institutions

 based on thematerialmisrepresentations'
                                       ,(9 unlawfully utilizing meansofidentification ofreal
 person victimsin orderto concealthe defendant'sinvolvementin the fraud scheme;and (g)
 diverting, and attem pting to divert, the fraud proceeds for the defendant's personal use and

 benefit,a11to furtherthe fraud schem e.

                               TH E SC H EM E AN D AR TIFICE
        4.     The defendant'sschem e and artifice included,am ong others,the follow ing:

                                 M UHO '
                                       sFormerEmplovment
               ln and around April20l3,G ER TI M UH O w as tenninated from his em ployer in

 N ew York,N Y . ln and around thistim e,M UH O unlaw fully obtained and retained financialand

 personalidentifying inform ation ofvarious victim s associated w ith his form erem ployer. ln and

 around June 20l3,M UH O began residing in the Southelm D istrid of Florida. ln and around

 August2013,M UH O unlawfully obtained approxim ately $2,067,377.24,via internationalwire

 transfer,from an H sBc-M onaco bank accountand quickly transfen'ed these funds to Citibank

 and Charles Schw ab accounts, am ong others, under his control. Clients of slllilfl's fornaer
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 8 of 27




 employerowned the approximately $2,067,377.24 contained in the HsBc-M onaco accountand
 did notauthorize M U H O 'Sreceipt,transfer, and use ofthese funds.

                                             CEM Loan
        6.      ln and around Septem ber 20l3, utilizing victim funds described above in

 paragraph 5, G ER TI M U H O purchased, am ong other item s, a residence located at 1100

 BiscayneBlvd,Apt.5303,Miami,FL,33132 (ttM iamiCondo'').To disguisethefraudscheme,
 M UHO purchased the M iamiCondo,for approxim ately $775,000 cash,in the name of Blue

 5303 Land Trust. O n or aboutO d ober 16,2013,the rem aining victim s'fundsw ere frozen, via

 federalcourtorderintheSouthel'
                              nDistrictofNew York(VVSDNY''),inCitibankandW ellsFargo
 accounts controlled by M U H O . O n or aboutApril4,2014,in the sam e SDN Y case num ber, a

 defaultjudgmentwasentered againstM UHO in the amountofapproximately $2,067,377.24,
 plusinterestand costs.

                ln and around November2014,GERTI M UH O ,in the nam e ofGM Capitaland

 GçGerard M organ,''subm itted,and caused to be subm itted,m aterially false and fraudulent toan

 application and related inform ation fora m ortgage loan, in the amountofa $500,000,from CEM

 and CapitalInternational. The equity in the M iam iCondo served ascollateralfortheloan. The

 loan application and related infonnation contained num erous false and fraudulentstatem entsand

 representationsrelating to M U H O 'S tl'ue identity,em ploym ent,incom e, intentto utilize property

 and loan proceeds,and other inform ation necessary for C EM and Capital lnternationalto assess

 his qualificationsto borrow m oney.

        8.      Am ong otherm aterially false and fraudulentm isrepresentations, G ER TIM UH O ,

 posing as V*G erard M organs''utilized a fictitious social security number. M UH O claim ed that
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 9 of 27




 currentlylivedin San Francisco,CA,had workedatGM Capitalforthree(3)years,and earfled
 $40,000 perm onth. M UH O subm itted a false and fraudulentletterregarding his employm ent

 and business background. M U H O claim ed thathe did notintend to occupy orutilize the M iam i

 Condo as his prim ary residence. M U H O also stated thatthe loan proceeds would solely be used

 forbusiness investm entand notforpersonaluse.

        9.     On or about N ovem ber 26, 2014, CEM            approved the loan and wired

 approximately $453,710 to theclosing agentin South M iami,FL. To disguise the fraud schem e,

 G ERTI M UH O ,posing asççG erard M organ,''signed the H UD -I on behalfGM Capitaland Blue

 5303 LandTrust. Thereafter,theelosing agentissued three(3)checks,totaling approximately
 $380,194.32,to M UH O . M UH O qtlickly deposited the loan proceedsinto a JP M organ account

 and utilized m ost,if not all,of the loan proceeds funds for his ow n personal use and benefit,

 including gam bling and travel. U ltim ately,M U H O stopped m aking loan paym ents and caused

 the loan to enterdefault.

                                       Space C(?J5'/Loan
        10.    Beginning on or about February 14,20l5,G ER TI M U H O , located in M iam i,

 FL,subm itted,and caused to be subm itted,m aterially false and fraudulentloan application and

 related inform ation to Space Coast. The Space Coast loan, in the am ount of approxim ately

 $38,000,related to the purchase a 20l5 Jaguar F--fype vehicle, with Vehicle ldentification

 Number(VlN)xxxx-59l1,in M iami,FL.To completethepurchase,M UHO traded in a20l3
 M aserti G T vehicle,w ith V IN xxxx-4292, w hich M UH O previously purchased w ith victim

 proceedsidentified above in paragraph 5.

               The Space Coast loan application and related infonnation contained num erous
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 10 of 27




  m aterially false and fraudulentstatem ents and representationsrelating to G E RTI M UH O 'S true

  identity,em ploym ent,incom e, and other inform ation necessary for Space Coast to assess his

  qualifications to borrow      m oney.      Am ong other m aterially false and fraudulent

  misrepresentations,M UHO ,posing asttGerard M organ,''claim ed thathe earned $220,000 per

  year as ''Presidentand Attorney''ofGM Capital. M UHO provided a M assachusetts driver's

  license asproof ofidentification. M IJH O also subm itted a tictitious social security num ber and

  counterfeitW -2 and 1RS-l099 form s. Based on these m aterialm isrepresentations,Space Coast

  approved and funded the loan. Upon purchasing the 2015 Jagtlar,M U H O also obtained vehicle

  insurance utilizing the nam e and personal identifying infonuation of real person T.D .V ., all

  w ithoutlaw fulauthority. Ultim ately,M U H O stopped m aking paym ents and caused the loan to

  enterdefault.

                           W ells Fargo accounts xxxx-8899 and xxxx-7601
         12.      O n or about Septem ber 30,2015,G ER TI M U H O subm itted,and caused to be

  subm itted,m aterially false and fraudulentbank accountapplication and related infonnation to a

  W ells Fargo branch located in Stlnrise, FL. Am ong other m aterially false and fraudulent

  m isrepresentations,M U H O utilized the nam e,forged signature,and social security num ber of

  T.D .V .,allw ithotlt lawfulauthority,w hen applying for the W ells Fargo accounts. D uling the

  W ells Fargo account application process,M UH O also presented a fake Ohio driver's license in

  the nam e ofT.D .V .,w ith M U H O 'Sphotograph,as proofofidentitication.

         13.      Based on these m aterial m isrepresentations,W ells Fargo approved and opened

  accounts xxxx-8899 and xxxx-7601 and issued W ells Fargo debit card xxxx-7564 for G E RTI

  M UH O , all in the nam e of T .D .V . and with a listed address located in M iam i Beach,

                                                 10
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 11 of 27




  Thereafter,utilizing victim s'personalidentifying inform ation,M IJH O falsely and fraudulently

  used,and attem pted to pse,W ells Fargo and other financialinstitution funds and credit for his

  own benetit.

         14.     O n or about October l3,2015,G ER TI M UH O falsely and fraudulently created,

  and caused to be created,falseand fraudulentBoA checks,totaling approximately $300.00,and

  deposited,and attem pted to depositthem into W ells Fargo account xxxx-8899. A m ong other

  m aterially false and fraudulent m isrepresentations,M U H O utilized BoA account infonnation,

  including T.D .V .'S nam e and forged signature, all w ithout law ful authority, to represent that

 paym entw as authorized.

                                      PN C accountxxxx-7156
                 O n or about October 7, 2015, G ERTI M U H O subm itted, and caused to be

  subm itted,m aterially false and fraudulentbank accountapplication and related inform ation to a

        branch located in Cooper City,            A m ong other m aterially false and fraudulent

  m isrepresentations, M U H O utilized T.D .V .'S nam e, forged signature, and social security

  num ber, all w ithout law ful authority,when applying for the PN C account. D uring the PN C

  account application process,M UH O also presented a fake Ohio driver's license in the nam e of

  T.D .V .,w ith M UH O 'Sphotograph,asproofofidentification.

                 Based on these m aterialm isrepresentations, PN C approved and opened account

  xxxx-7l56 and issued PN C debitcard xxxx-8003 for G ER TI M U H O ,allin the nam e ofT.D .V .

  and with a listed address located in Brooklyn, N Y . Thereafter, utilizing victim s' personal

  identifying inform ation w ithout law ful authority, M UH O falsely and fraudulently used, and

  attem pted to use,PN C and othertinancialinstitution funds and creditfor his own benefit.

                                                 11
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 12 of 27




                Beginning on or about October 12, 20l5, and continuing through on or about

 O ctober 21,2015, G ER TI M UH O falsely and fraudulently created,and caused to be created,

 false and fraudulent UM B ,BoA,and SVB checks,totaling approximately $50,700.00,and
 deposited,and attem pted to depositthem into PN C accountxxxx-7156. Am ong otherm atelially

 false and fraudulent m isrepresentations, M U H O utilized UM B, BoA , and SV B account

 inform ation and realperson M .M .'S and T.D .V .'S personalidentifying inform ation to represent

 thatpaym entw as authorized.

                                      BoA accountxxxx-2838
         18.    On or about O ctober 8, 20l5, G ER TI M U H O subm itted, and caused to be

  subm itted,m aterially false and fraudulent bank accountapplication and related infonuation to a

  BoA branch located in M iam i, FL.           A m ong other m aterially false and fraudtllent

  m isrepresentations, M UH O utilized T.D .V .'S nam e, forged signature, and social security

 num ber, all w ithout law ful authority, when applying for the BoA account. During the BoA

  accountapplication process,M U H O also presented a fake Ohio driver's license in the nam e of

  T.D .V ., w ith M UH O 'S photograph, as proof of identification. Based on these m aterial

 m isrepresentations, BoA approved and opened account xxxx-2838 for M U H O in the nam e of

  T.D .V .and w ith a listed address located in Long Beach,N Y .

                              BoA accottnts xxxx-4771 and xxxx-4784
         l9.    O n or about O ctober 8, 2015, G ERTI M UH O subm itted, and caused to be

  subm itted,m aterially false and fraudulentbank accountapplication and related infonnation to a

  BoA branch located in M iam i,               A m ong other m aterially false and fraudulent

  m isrepresentations, M U H O utilized T.D.V .'S nam e and forged signature, al1 w ithout law ful
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 13 of 27




 authority,when applying for two (2) BoA accounts. During the BoA account application
 process,M UH O presented a PN C debitcard xxxx-8003 and a fake Ohio driver's license,both in

 the nam e of T.D .V .,as proofof identification. M U H O also claim ed thatT.D .V .was a director

 ofFlColbalt.

         20.    Based on these m aterial m isrepresentations,BoA approved and opened accounts

 xxxx-477l and xxxx-4784 and issued BoA debitcard xxxx-8280 for G ER TI M U H O ,allin the

 nam e of T.D .V .and FlColbalt and w ith a listed address located in Brooklyn,N Y . Thereafter,

 utilizing victim s'personalidentifying infonnation w ithoutlaw fulauthority,M U H O falsely and

 fraudulently utilized,and attem pted to utilize,BoA and other financialinstitution account funds

 and creditforhisow n use and benefit.

                Beginning on or about October l3, 20l5, and continuing through on or about

  October 23,2015, G ER TI M U H O falsely and fraudulently created,and caused to be created,

  false and fraudulent A m erican Express TRS, SV B, and PN C checks, totaling approxim ately

  $4,850.00,and deposited,and attempted to depositthem into BoA accounts xxxx-4771 and
  xxxx-4784. Am ong other m aterially false and fraudulent m isrepresentations, M U H O utilized

  Am erican Express, SV B, and PN C account infonuation and T.D .V .'S personal identifying

  infonuation to representthatpaym entw as authorized.

                                      BoA accountxxxx-2760
                O n or about October 8, 2015, G ERTI M U H O subm itted, and caused to be

  subm itted,m aterially false and fraudulentbank accountapplication and related inform ation to a

  BoA branch located in M iam i, FL.          A m ong other m aterially false and fraudulent

  m isrepresentations, M U H O utilized T.D .V .'S nam e and forged signature, all w ithout law ful

                                                 13
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 14 of 27




 authority, w hen applying for a BoA account. During the BoA account application process,

 M U H O presented a PN C debit card xxxx-8003 and a fake O hio driver's license,both in the

 nam e ofT.D .V .,asproofofidentitication. M UH O also claim ed thatT.D .V .w as a directorofFl

 Investm ents.

                 Based on these m aterialm isrepresentations,BoA opened accountxxxx-2760,and

 issued BoA debit card xxxx-8199, for G E RTI M UH O , al1 in the nam e of T.D .V . and FI

 lnvestm ents and w ith a listed address located in Brooklyn,N Y . Thereafter,utilizing victim s'

 personal identifying infonnation w ithout lawful authority, M U H O falsely and fraudulently

 utilized and attem pted to utilize BoA and other tinancialinstitution accountfunds and credit for

 hisown use and benetit.

         24.     Beginning on or about O ctober 19, 20l5, and continuing through on or about

 O ctober 23,2015,G E RTI M UH O falsely and fraudulently created,and caused to be created,

  SVB checks,totaling approxim ately $6,500.00,and deposited,and attempted to deposit them

 into BoA accountxxxx-2760. A m ong other m aterially false and fraudulentm isrepresentations,

 M UH O utilized SV B account infonnation and T.D .V .'S personal identifying infonnation to

 representthatpaym entw aS authorized.

                            TD Bank (zcc/l/n/s'xxxx-8119 and xxxx-28l0
                 O n or about October 29, 2015, G ER TI M U H O subm itted, and caused to be

  subm itted,m aterially false and fraudtllent bank accountapplication and related inform ation to a

  TD Bank branch located in Sunny lsles, FL. A m ong other m aterially false and fraudulent

 m isrepresentations, M UH O utilized T.D .V .'S nam e, forged signature, and social security

  number,al1withoutlawfulauthority,whenapplying fortwo(2)TD Banksaccounts.Duringthe

                                                 14
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 15 of 27




  TD Bank accountapplication process,M IJH O also presented a fake O hio driver's license in the

  nam e ofT.D .V .,which contained M U H O 'Sphotograph,asproofofidentification.

         26.     Based on these m aterial m isrepresentations, TD Bank approved and opened

  accounts xxxx-8119 and xxxx-2810 for G ER TI M UH O ,allin the nam e of T .D .V .and w ith a

  listed address located in Plantation, FL. Thereafter, utilizing victim s' personal identifying

  inform ation w ithoutlaw fulauthority,M UH O falsely and fraudulently utilized and attem pted to

  utilize TD Bank and other financial institution account funds and credit for his own use and

  benefit.

         27.    Beginning on or about Od ober 26, 2015, and continuing through on or about

  October27,2015,GERTI M UHO falsely and fraudulently created,and caused to be created,

  HSBC and SVB checks,totaling approximately $13,790.00,and deposited,and attempted to
  deposit them into TD Bank account xxxx-81l9. Am ong other m aterially false and fraudulent

  m isrepresentations,M U H O utilized HSBC and SV B accountinform ation and T.D .V .'S personal

  identifying infonnation,to representthatpaym entw as authorized.

                                         SallieM ae fztpt-
                                                         /zs'
                Beginning in and around N ovem ber 2015 and continuing through in and around

  January 2016, G E RTI M UH O , subm itted, and caused to be subm itted, m aterially false and

  fraudulent loan applications and related infonuation to Sallie M ae. The loan applications and

  related information pertained to variotlsSallie M ae studentloanstotaling over$90,000. M UH O
  also utilized num erous victim s'personalidentifying infonnation,allw ithoutlaw fulauthority.

                O n or about N ovem ber 24,20l5,M U H O ,located in M iam i,FL, and posing as

  real person victim M .H .G ., applied to Sallie M ae, via the internet, for a student loan in the
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 16 of 27




  amountof$30,000. Among m aterially falseand fraudulentmaterialm isrepresentations, M UH O
  listed realperson M .H.G.asthe co-signer. M UHO also provided M .H .G .'S real social security

  num berand otherpersonalidentifying infonnation,allw ithoutlaw fulauthority.

         30.     On or about D ecem ber l5, 2015 G ERTI M UH O , located in M iam i, FL, and

  posing as çtloris J.B lair''and M .H .G .,electronically applied to Sallie M ae, via the intenzet,for a

  bar study loan in the amount of $15,000. Among other materially false and fraudulent
  m isrepresentations,M U H O utilized the alias ûllfris Blair''as the applicant, and listed M .H .G .as

  the co-signer. M U H O claim ed that ttltris Blair'' graduated from U C Berkeley School of Law

  and eanwd $180,000 peryearatKris BlairCo. M UHO provided a fake UC Berkeley Oftk eof

 the Registrar letter and School C ertifcation Form ,each utilizing real person J.P.'S nam e and

  forged signature,allwithoutlaw fulauthority. M UH O utilized a false socialseculity num berfor

  'ilfris Blair.'' M UHO claim ed thatM .H.G.eanwd $240,000 peryear and provided M .H.G.'S
  real social security num ber and other personal identifying inform ation, all w ithout law ful

  authority. Based on these m aterialm isrepresentations,on or aboutJanuary 9, 20 l6,Sallie M ae

  approved the loan and issued two (2)checkstotaling $15,000,and mailed them to M UHO in
  Ridgewood,N Y .

                                             PenFed f-tp:/n,
                                                           ç
                 Beginning in and around N ovem ber 2015 and continuing through in and around

 M arch 2016, G ER TI M U H O subm itted, and caused to be subm itted, m aterially false and

 fraudulent loan applications and related inform ation to PenFed. The loan applications and

 related information pertained to various PenFed loans and creditcards totaling over$235,000.



                                                   16
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 17 of 27




  M UH O also utilized num erous victim s' personal identifying inform ation, including M .H .G .,

  am ong others,a1lw ithoutlaw fulauthority.

           32.   On or about D ecem ber 14,2015,M U H O ,located in M iam i, FL,and posing as

  M .H .G., electronically applied to PenFed,via the internet, for an auto loan, in the am ount of

  $100,000, for a 2016 M aserati vehicle. Among other m aterially false and fraudulent

  misrepresentations, M UHO stated that M .H.G.worked at Balfour Investors lnc. and earned

  $15,000 per m onth. M UHO also provided M .H.G.'S real social security num ber and other

  personalidentifying inform ation,allw ithoutlawfulauthority.

                      EX ECU TIO N O F TH E SCH EM E A ND A R TIFIC E
                 On or about the dates specified as to each count below ,the defendant, G ER TI

  M U H O , did execute,and cause the execution of, the above-described schenae and adifce to

  defraud as m ore particularly described below :

   C O UN T      A PPR OX .                         A C T IN EX ECU TIO N
                   DA TE
       l         11/26/2014     Subm ission offalse and fraudulentloan application and related
                                infonuation to CEM for the purpose of obtaining a m ortgage
                                loan in the am ountof approximately $500,000,in connection
                                w ith the property located at 1l00 Biscayne Blvd, Apt. 5303,
                                M iam i,FL,33132.
                 2/14/2015      Subm ission of false and fraudulent loan application and related
                                inform ation to Space Coast for the purpose of obtaining a
                                vehicle loan in the amount of approxim ately $38,000, in
                                connection w ith thepurchase ofa 2015 Jaguar,V IN xxxx-59l1.
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 18 of 27




   CO U N T   A PPRO X .                       A C T IN EX ECU TIO N
                D A TE
      3       9/30/2015    Subm ission offalse and fraudulentbank accountapplication and
                           related infonuation to W ells Fargo, in the nam e of T.D .V .,in
                           connection w ith W ells Fargo accounts xxxx-8899 and xxxx-
                           7601and debitcard xxxx-7564.
              10/7/2015    Subm ission offalse and fraudulentbank accountapplication and
                           related infonnation to PN C, in the nam e of T.D .V ., in
                           connection w ith PN C account xxxx-7156 and debit card xxxx-
                           8003.
      5       10/8/2015    Subm ission offalse and fraudulentbank accountapplication and
                           related infonnation to BoA , in the nam e of T.D .V ., in
                           connection w ith BoA accountxxxx-2838.
      6       10/8/2015    Subm ission of false and fraudulentbank accountapplication and
                           related inform ation to BoA , in the nam e of T.D .V . and F1
                           Colbalt,in connection w ith BoA accounts xxxx-4771 and xxxx-
                           4784 and debitcard xxxx-8280.

      7       10/8/2015    Subm ission offalse and fraudulentbalzk accountapplication and
                           related infonnation to BoA , in the nam e of T.D .V . and F1
                           lnvestm ents, in connection w ith BoA account xxxx-2760 and
                           debitcard xxxx-8199.
              10/8/2015    Subm ission offalse and fraudulentbank accountapplication and
                           related inform ation to TD Bank, in the nam e of T.D .V ., in
                           connection w ith TD Bank accounts xxxx-8119 and xxxx-28l0.
      9       10/15/2015   Subm ission of false and fraudulent UM B check //2603, the
                           amount$50,000.00,forpaymentatPNC.
      10      10/22/2015   Subm ission of false and fraudulent SV B check //2300, the
                           am ount$2,500.00,forpaym entatBoA .
              10/22/2015   Subm ission of false and fraudulent SV B check #2302, the
                           am ount$2,000.00,forpaym entatBoA.
              10/23/2015   Subm ission of false and fraudulent SV B check //2305, the
                           am ount$4,000.00,forpaym entatBoA .



                                          18
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 19 of 27




   CO U N T      A PPRO X .                          A C T IN EX EC U TIO N
                   D ATE
       13        10/29/2015      Subm ission of false and fraudulent H SBC check #1207, the
                                 amount$9,790.00,forpaymentatTD Bank.
       14        10/29/2015      Subm ission of false and fraudulent SV B check #3006, the
                                 am ount$4,000.00,forpaymentatTD Bank.
                 l1/24/2015      Subm ission of false and fraudulent loan application and related
                                 inform ation to Sallie M ae forthe purpose ofobtaining a student
                                 loan in the amountofapproximately $30,000.
       l6        12/14/2015      Subm ission of false and fraudulentloan application and related
                                 infonration to PenFed for the purpose of obtaining a vehicle
                                 loan intheamountofapproxim ately $100,000.
       17        12/15/2015      Subm ission of false and fraudulent loan application and related
                                 docum ents to Sallie M ae for the pup ose of obtaining a student
                                 loan in theamountofapproxim ately $l5,000.

         lnviolationofTitlel8,UnitedStatesCode,Sectionsl344(1)and(2),and2.
                                          C O U N TS 18-19
                                          W IR E FM UD
                                         (18U.S.C.j 1343)
                Paragraphs 6,l2,17,l9-21,25,and 29-32,of the GeneralA llegations section of

  this lndictm entare re-alleged and incorporated fully herein by referenee.

                 Beginning in and around A pril2013,the exactdate being unknow n to the Grand

  Jury,and continuing through on or aboutM ay 17,2016,in M iam i-D ade and Brow ard Counties,

  in the Southelm DistrictofFlorida,and elsewhere,the defendant,

                                          G ER TIM UH O ,
                                  a/k/a içG erard Peter M organ,''
                                      a/k/a ftE nton Pinguli,''
                                         a/k/a d6lkris Blair,''

  did knowingly and with intentto defraud devise,and intend to devise,a schem e and artifice to
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 20 of 27




  defraud,and to obtain m oney and property by m eansofm aterially false and fraudulentpretenses,

  representations, and prom ises, know ing that they w ere false and fraudulent w hen m ade, and

 transm itted and caused to be transm itted in interstate com m erce, by m eans of w ire

  com m unication,certain w ritings,signs,signals,picturesand sounds,forthe purpose ofexecuting

 theschemeandartifice,allwhich affected one(1)ormorefinancialinstitutions,in violation of
  Title l8,United StatesCodesSection 1343.

                        PUR PO SE O F TH E SC H EM E A N D A RTIFIC E
                lt w as the purpose of the schem e and artifice for the defendant to unlaw fully

 enrich himself by,among other things:(a) unlawfully obtaining and utilizing personaland
  financialidentifying information ofrealperson and organizationalvictims'
                                                                         ,(b)submitting false
  and fraudulent credit loan applications and other related loan infonnation to financial and

  lending institutions in order to induce the financialand lending institutions to provide the loans;

  (c)unlawfully utilizing meansofidentitication ofrealperson victimsin orderto concealthe
 defendant's involvementin the fraud scheme'
                                           ,and (d)diverting,and attempting to divert,the
  fraud proceeds forthe defendant'spersonaluse and benetit,allto furtherthe fraud schem e.

                                TH E SCH EM E A ND A RT IFIC E
                Paragraph 5 ofthe Schem e and A rtifice Section ofCounts 1-17 ofthis Indictm ent

  is re-alleged and incorporated by reference as through fully set forth herein as a description of

 the schem e and artifice. The defendant's schem e and artifice also included,am ong others,the

  follow ing'
            .

                                       UpstartN etwork Loan
                Beginning on oraboutO ctober 8,2015,G ER TI M U H O ,located in M iam i,FL,



                                                 20
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 21 of 27




  and utilizing the internet,subm itted,and caubed to be subm itted,m aterially false and fraudulent

  loan application and related inform ation to Upstart N etw ork and Cross River. The loan

  application and related inform ation pertained to a personalloan in the amountof$35,000. The
 loan application and related docum ents contained num erous m aterially false and fraudulent

  statem ents and representationsrelating to M U H O 'Strue identity,em ploym ent,incom e,deposits,

  assets,liabilities,and other infonuation necessary for the lenders to assess his qualifications to

 borrow m oney.

                Am ong otherm aterially false and fraudulentm isrepresentations,G ERTI M UH O

 utilized T.D .V .'S nam e and social security num ber, a1l w ithout law ful autholity. M UH O

  subm itted a photograph of a fake Ohio driver's license, in the nam e of T.D .V ., as proof of

  identification. M U H O also provided an altered statem ent for W ells Fargo accountxxxx-760l.

  Through use of the internet,M UH O also caused Upstal'tN etwork em ployees to electronically

 access the loan application,via interstate w ire com m unications,outside the state ofFlorida.

                                       M avorsJewelers Loan
                Beginning on or aboutO ctober 8,2015,G ER TI M UH O ,located in M iam i,FL,

  subm itted, and caused to be subm itted, m aterially false and fraudulent loan application and

 related inform ation to M ayors Jewelers,Birks G roup,and A lliance D ata. The loan application

 and related infonnation pertained to a consumer loan,in the am ount of $7,700,in order to
 purchase a Rolex w atch. The loan application and related infonnation contained num erous

 m aterially false and fraudulent statem ents and representations relating to M U H O 'S true identity,

  em ploym ent,incom e,deposits,assets,liabilities,and other infonnation necessary for lenders to

  assesshis qualificationsto borrow m oney.

                                                  21
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 22 of 27




               Am ong otherm aterially false and fraudulentm isrepresentations,G ER TI M U H O

 utilized T.D .V .'S nam e, forged signature, and social security num ber, all w ithout law ful

 authority. M UHO claimed thathe worked atFI lnvestm ents and earned $14,500 per m onth.
 M U H O also provided a fake Ohio driver's license and PN C debit card, both in the nam e of

 T.D.V .,as proof of identification. Thereafter, M U H O caused M ayors Jew elers to subm it the

 application,via interstate and foreign w ire com m unication,to Birks G roup and A lliance Data

 outside the state ofFlorida.

                                     USE O F T H E W IRE S
               On or about the dates specified as to each countbelow ,the defendant,G E RTI

 M U H O ,forthe purpose of executing the above-desclibed schem e and artitice to defraud and to

 obtain m oney and property by m eansofm aterially false and fraudulentpretenses,representations

 and prom ises, did know ingly transm it and cause to be transm itted, by m eans of w ire

 com m unication,in interstate and foreig'
                                         n com m erce,certain w ritings,signs,signals,pictures and

 sounds,asm ore particularly desclibed in each countbelow :

   CO UN T      A PPR O X .           D ESC RIPTIO N O F W IR E C O M M UN IC A TIO N
                  D A TE

     18          10/8/2015      Electronic subm ission, in M iam i, FL, of loan application and
                                related infonuation to Upstart and Cross River, in nam e of
                                T.D .V ., in connection w ith a personal loan in the am ount of
                                $35,000.
     19          10/8/2015      Electronic subm ission, in M iam i, FL, of loan application and
                                related inform ation to Birks Group and A lliance D ata,in nam e of
                                T.D .V ., in connection with a consum er loan in the am ount of
                                $7,700.

        ln violation ofTitle 18,United StatesCode,Sections l343 and 2.


                                                22
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 23 of 27




                                        C O U NT S 20-36
                              AG G R AV ATE D ID EN TIFY TH EFT
                                   (18U.S.C.j 1028A(a)(1))
               Paragraphs l-32 ofthe GeneralA llegations section and the Schem e and Artifice

 sections of Counts 1-19 of this lndictm ent are re-alleged and incorporated fully herein by

 reference.

               On or about the dates enum erated below as to each count, in M iam i-D ade and

 Broward Counties,in the Southern DistrictofFlorida,and elsew here,the defendant,

                                         G ER TI M U H O ,
                                 a/k/a féG erard Peter M organ,''
                                     a/k/a i6Enton Pinguli,''
                                        a/k/a içlfrisBlair,''

 during and in relation to felony violations of Title l8,United States Code, Sections 1344 and

  1343,as charged in Counts 3-8 and 10-18 of this lndictm ent,did know ingly transfer,possess,

 and use,w ithoutlaw fulauthority,the m eans of identification of another person,as specified in

 each countlisted below .

   C OU N T     A PPR O X .                   M EA N S O F ID EN TIFICA TIO N
                  D A TE

      20        9/30/2015       T.D .V .'S nam e, forged signature, and social security num ber
                                during and in relation to Count3.

      21        10/7/2015       T.D.V .'S nam e, forged signature, and social security num ber
                                during and in relation to Count4.

      22        10/8/2015       T.D .V .'S nam e, forged signature, and social security num ber
                                during and in relation to Count5.

                10/8/2015       T.D.V .'S nam e, forged signature, and social security num ber
                                during and in relation to Count6.



                                               23
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 24 of 27




   C O UN T      A PPR O X .                  M EA N S O F ID ENTIFIC A TIO N
                   D A TE

      24          10/8/2015    T.D .V .'S nam e, forged signature, and social security num ber
                               during and in relation to Count7.

      25          10/8/2015    T.D.V .'S nam e and socialsecurity num berduring and in relation
                               to Count l8.

      26          10/8/2015    T.D.V .'S nam e, forged signature, and social security num ber
                               during and in relation to Count 19.

                 l0/l5/20 l5   M .M .'S nam e and forged signature during and in relation to
                               Count9.
      28         10/22/2015    T.D .V .'Snam e during and in relation to Count ll.

      29         10/23/2015    T.D .V .'S nam e and forged signature during and in relation to
                               Count 12.

      30         10/29/2015    T.D.V .'S nam e, forged signature, and social security num ber
                               during and in relation to Count8.

                 10/29/2015    T.D.V .'S nam e and forged signature during and in relation to
                               Count 13.

      32         10/29/2015    T.D.V .'S nam e and forged signature during and in relation to
                               Count l4.

      33         11/24/2015    M .H .G .'S nam e and socialsecurity num berduring and in relation
                               to Count 15.

      34         12/14/2015    M .H .G .'S nam e and socialsecurity num berduring and in relation
                               to Count l6.

                 12/15/2015    M .H .G .'S nam e and socialsecurity num berduring and in relation
                               to Count l7.

      36         12/15/2015    J.P.'S nam e and forged signature during and in relation to Count
                               l7.


           InviolationofTitle l8,United StatesCode,Section 1028A(a)(1)and2.
                                               24
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 25 of 27




                                                         FO R FEITU RE
                                                    (18 U.S.C.jj982(a)(2)(A))
                         The allegations of this lndictm ent are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging forfeiture to the U nited States of A m erica of

 certain property in w hich the defendant,G ER TI M U H O ,hasan interest.

                         Upon conviction ofany ofthe offensescharged in Counts 1-36 ofthis lndictm ent,

 thedefendant,GERTIM UHO,shallforfeitto theUnited States:(a)any property constituting,
 orderived from ,any proceedsthatsuch defendantobtained directly or indirectly,asthe resultof

 such violation,pursuant to Title l8,United States Code, Section 982(a)(2)(A), as made
 applicablebyTitle28,United StatesCode,Section 2461(c).
 itis the intentofthe United States to seek the forfeiture ofotherproperty of the defendantup to

 the value ofthe above-described forfeitable properties.

        Allpursuantto Title l8,United StatesCode,Sections982(a)(2)(A),asmade applicable
 by Title28,United StatesCode,Section246l(c),andtheproceduressetforth atTitle2l,United
  StatesCode,Section 853.


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  W IFRED O         .              RER
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  UN ITE                            TT       N EY
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  AS STAN TJNITE STATESAT RNEY
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                             xxx
                             UNITED
   Case 1:16-cr-20390-BB Document 7 STATES
                                     EnteredDIon
                                              STRICT CODocket
                                                 FLSD   URT 05/26/2016 Page 26 of 27
                             SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                             CASE NO.
VS.

GERTIM UHO,                                          CERTIFICATE O F TR IA L ATTO RN EY
       a/k/a ''Gerard PeterM organ,''
       a/k/a 'Enton Pinguli,''
       a/k/a 'Kris Blair,''
                                Defendant.
                                              I      Superseding Case Inform ation:
CourtDivision:(selectone)                            New Defendantls)                  Yes            No
                                                     Num berofNew Defendants
 X         M iam i              Ke W est             Totalnum berofcounts
           FTL                  wIB           FTp
           Ido herebycertify that:
                      lhavecarefully considered the allegationspfthe indictmqnt,thenumberofdefendants,the numberof
                      probable wi
                                tnesses and the Iegalcomplexl
                                                            ties ofthe Indlctm ent/lnformation attached hereto.
                      Iam aware thatthç inform ation supplied oq this jtqtemeqtwillbe relied upon by the Judges ofthi
                                                                                                                    s
                      Courtin setting thelrcalçndars and schedullng crlmlnaltrlals underthe mandate ofthe Speedy Trial
                      Act,Ti
                           tle 28 U.S.C.Secbon 3161.
                      Iqterpreter:
                      L                (YesqrNo)       No
                          IstIanguage and/ordl
                                             alect
                      This case willtake      11-15 daysforthe parties to try.
                      Please check appropriate category and type ofoffense li
                                                                            sted bel
                                                                                   ow:
                      (Checkonlyone)                                  (Checkonl
                                                                              yone)
           I          0 to 5 days                                               Petty
           II         6 to 10 days                                              M inor
           III        11 to 20 days                                             M isdem .
           IV         21 to 60 days                                             Felony          X
           V          61 days and over
           6.
           If         Hasthiscase beenpreviouslyfiled inthisDistri
                                                                 ctCourt? (YesorNo)            No
             yes:
           Judge:                                               Case No.
           (Attachcopyqfdispositive ?rdeq)
           Hasacomplalntbeenfiled lnthlsmatter?                 (YesorNo)        Yes
           Ifyej:
           Maglstrate Case No.                        16-MJ-2639-AMS -SDFL
           Related Misc:llaneous num bers:               - -                -
           Defendantts)Infederalcustodyasof
           Defendantts)instatecustodyasof
           Rule 20 from the                           astern Istrl
                                                                 cto ew or
           Isthisapotentialdeath penal
                                     tycase? (YesorNo)                No
                      Dqes this case originate from a matterpending in the Northern Region ofthe U.S.Attorney's Office
                      prlorto October14-
                                       ,2003?        Yes         x    No

                      Dges this case originate from a m atterpending in           tr   eglo    the U.S.Attorney's Office
                      prlorto Septem ber1,2007?        Yes       x     o

                                                                       V-'Q
                                                                SE T.McL UGHLI
                                                      ----.     AS IS NT ITED ST            ES ATTORNEY
                                                          -.-
                                                                c urtN .A55
                                                                         '
                                                                            1121
                                                                           xx


*penaltySheetts)atached                                                                               REV4/8/08
Case 1:16-cr-20390-BB Document 7 Entered on FLSD Docket 05/26/2016 Page 27 of 27




                              U N ITED STA TES DISTRIC T CO UR T
                              SO U TH ER N D ISTR IC T O F FL O R ID A

                                        PEN ALT Y SH EE T

 Defendant's N am e:G ER TI M UH O a/k/a fEfyerard Peter M orean.''a/k/a éçEnton Pineuli.''
 a/k/a ççlfris Blair''

 Case N o:

 Counts#:1-l7

  Bank Fraud

 Title18,United StatesCode.Section 134441)andlz)
 * M ax.Penalty'
               . 30 Years'lm prisonm ent

 Count#:18

 W ire Fraud A ffectinc Financiallnstitution

 Title 18,United StatesCode,Section 1343

 * M ax.Penalty:30 Y ears'lm prisonm ent

 Count#:19

 W ire Fraud

 Title 18,United StatesCodesSection l343

  * M ax.Penalty:20 Years'lm prisonm ent

 Count#s:20-36

 A ggravated ldentity Theft

 Title l8,U nited States Code,Section 1028A

 * M ax.Penalty:2 Y ears'lm prisonm ent-consecutive to any othersentence



   SrRefersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
